Case 9:24-cv-80386-RLR Document 16 Entered on FLSD Docket 05/09/2024 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

   GUILLERMO LAGO,

           Plaintiff,

   vs.                                                      CASE NO.: 9:24-cv-80386-RLR

   GUSS INVESTMENT GROUP, LLC,


        Defendant.
  ____________________________________/

               PLAINTIFF’S MOTION FOR DEFAULT PURSUANT TO RULE 55(a)

          Plaintiff Guillermo Lago (“Plaintiff”) respectfully moves this Honorable Court for entry of

  default pursuant to Rule 55(a) against Defendant, Guss Investment Group, LLC (“Defendant”), as

  provided by Rules 55(a) and 15(a)(3) of the Federal Rules of Civil Procedures. In support thereof,

  Plaintiff states as follows:

          1.      On or about March 29, 2024, Plaintiff Guillermo Lago (“Plaintiff”), filed a

  Complaint against Defendant, Guss Investment Group, LLC (“Defendant”). [DE 1].

          2.      On or about April 1, 2024, Plaintiff effected service on Defendant. [DE 4].

          3.      On or about April 4, 2024, Defendant filed a Motion to Dismiss the Complaint with

  Prejudice with a response from Plaintiff due on April 18, 2024. [DE 6].

          4.      On or about April 17, 2024, Plaintiff filed their First Amended Complaint in lieu

  of a response to Defendant’s Motion to Dismiss. [DE 14].

          5.      On or about April 17, 2024, the court entered a paperless order denying Defendant’s

  Motion to Dismiss as moot in light of Plaintiff’s First Amended Complaint. [DE 15].

          6.      Pursuant to Federal Rule of Civil Procedure 15(a)(3), the deadline for Defendant’s
Case 9:24-cv-80386-RLR Document 16 Entered on FLSD Docket 05/09/2024 Page 2 of 2




  response to the Amended Complaint was May 1, 2024.

         7.      Defendant has yet to file any paper required by law in response to Plaintiff’s First

  Amended Complaint.

         8.      Pursuant to Federal Rule of Civil Procedures 55(a), Plaintiff files this motion for

  default against Defendant.

         WHEREFORE, Plaintiff respectfully requests the entry of default against Defendant, Guss

  Investment Group, LLC.

  Dated: May 9, 2024.

                                                       /s/ Matthew D. Bavaro
                                                       Matthew D. Bavaro, Esquire
                                                       FL Bar No.: 175821
                                                       LOAN LAWYERS, LLC
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                                                       Secondary: nicole@fight13.com
                                                       Attorney for Plaintiff




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 9th day of May 2024, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all parties identified on the clerk’s record either via transmission of
  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive electronically Notices of Electronic Filing.

                                                       /s/ Matthew D. Bavaro
                                                       Matthew D. Bavaro
